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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WISCONSIN


U.S. WATER SERVICES, INC. and ROY
JOHNSON,

                    Plaintiffs,

        v.                                          No. 3:13-cv-00864-jdp

NOVOZYMES A/S and NOVOZYMES                         Redacted
NORTH AMERICA, INC.,

                    Defendants.


     PLAINTIFFS’ MOTION FOR SUPPLEMENTAL DAMAGES, PREJUDGMENT
                 INTEREST, AND POST-JUDGMENT INTEREST



                                      INTRODUCTION

        With its October 18, 2017 verdict, the jury confirmed that Defendant Novozymes A/S

and Novozymes North America, Inc. (“Novozymes” or “Defendant”) has been infringing U.S.

Water’s ’137 and ’399 patents for over four years, since the patents-in-suits’ 2013 issuance.

Based on that infringement, the jury awarded U.S. Water $7,582,966 in damages, concluding

that a reasonable royalty for Novozymes’s infringement is $5.05 per pound of infringing

phytase-containing anti-fouling products sold during the damages period. But the $7,582,966

verdict reflected infringing sales only through May 31, 2017—the last time Novozymes updated

its sales data prior to trial. Yet, Novozymes has continued to sell infringing product even post-

verdict.1    U.S. Water is therefore entitled to an accounting and supplemental damages for

royalties accruing after May 31, 2017, until the October 27, 2017 judgment at a rate of $5.05 per

1
  See Declaration of Autumn N. Nero in Support of Plaintiffs’ Motion for Supplemental
Damages and Prejudgment and Post-Judgment Interest (“Nero Decl.”) Ex. 1 (Lisa Gibson, Jury
Rules in Favor of U.S. Water in Patent Infringement Suit, Ethanol Producer Magazine (Nov. 7,
2017),      http://ethanolproducer.com/articles/14790/jury-rules-in-favor-of-u-s-water-in-patent-
infringement-suit), (filed herewith).
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pound. U.S. Water is likewise entitled to damages from the October 27, 2017 judgment until the

date Novozymes is enjoined (or, in the alternative, for the life of the patents-in-suit), and has

requested these damages be awarded at a rate of $10 per pound. See Pls.’ Mot. for Permanent

Injunctive Relief & Enhanced Royalty at 19–20.2 Moreover, under 35 U.S.C. § 284, U.S. Water

is also entitled to an award of prejudgment and post-judgment interest on both the verdict and

these post-May 31, 2017, supplemental damages. Accordingly, and as more fully described

below, U.S. Water respectfully requests supplemental damages and prejudgment and post-

judgment interest.

                                         ARGUMENT

       A.      U.S. Water Is Entitled to an Accounting and Supplemental Damages for
               Royalties Accrued Since May 31, 2017.

       Under 35 U.S.C. § 284, a plaintiff prevailing in a patent infringement case is entitled to

receive “damages adequate to compensate for the infringement.” It is fundamental that these

damages include amounts that were not included in the verdict: “[a] patentee is entitled to

damages for the entire period of infringement and should therefore be awarded supplemental

damages for any periods of infringement not covered by the jury verdict.” Mondis Tech. Ltd. v.

Chimei InnoLux Corp., 822 F. Supp. 2d 639, 643 (E.D. Tex. 2011) (quoting Datatreasury Corp.




2
 As explained in Plaintiffs’ Memorandum of Law in Support of Motion for Permanent Injunctive
Relief and an Enhanced Royalty on Novozymes’s Willful Post-Judgment Sales, filed herewith, to
the extent Novozymes has continued to infringe post-judgment (which it has), these now-willful
sales should be subject to a $10 per pound royalty. See Douglas Dynamics, LLC v. Buyers
Prods. Co., 76 F. Supp. 3d 806, 821 (W.D. Wis. 2014) (holding that defendant “knew full well
that these units infringed but elected to sell them anyway, rather than designing a non-infringing
alternative,” which makes defendant’s “post-verdict sales willful”), aff’d, 628 F. App’x 767
(Fed. Cir. 2016).


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v. Wells Fargo & Co., No. 2:06-cv-72-DF-CE, ECF No. 2496 at 9 (E.D. Tex. Aug. 2, 2011)),

aff’d, 530 F. App’x 959 (Fed. Cir. 2013).3

       This additional supplemental damages amount is calculated and awarded by the Court

following the entry of the trial verdict. Mondis Tech. Ltd., 822 F. Supp. 2d at 643–44; Metso

Minerals, Inc., 833 F. Supp. 2d at 345–51; Aero Prods. Int’l, Inc., 2005 WL 1498667 at *1–2. It

typically covers at least (1) infringing sales made after the time period of the evidence submitted

at trial, but before the date of the verdict; and (2) infringing sales made after the date of the

verdict, but prior to the entry of an injunction prohibiting further infringement or, in the

alternative, payment of an ongoing royalty. Metso Minerals, Inc., 833 F. Supp. 2d at 346–48.

       Here, the jury’s damages award was limited to the period from April 9, 2013, through

May 31, 2017. This is because Novozymes’s most recently updated sales data available to the

jury contained information only through May 31, 2017. See Pls.’ Trial Ex. (hereinafter “PTX”)

893. Thus, in order to be fully compensated for infringing sales to date, U.S. Water is entitled to

an accounting and supplemental damages for Novozymes’s sales of infringing phytase products

from May 31, 2017, and October 27, 2017, at the jury’s awarded royalty of $5.05 per pound.

Based on records produced post-judgment, these damages are as follows: between May 31, 2017,

to October 27, 2017, Novozymes sold Redacte pounds of infringing product, which (at $5.05 per
                                       d




3
  See also Whitserve, LLC v. Computer Packages, Inc., 694 F.3d 10, 38 (Fed. Cir. 2012)
(“District courts have discretion to award damages for periods of infringement not considered by
the jury.”); Finjan, Inc. v. Secure Computing Corp., 626 F.3d 1197, 1212 (Fed Cir. 2010);
Fresenius USA, Inc. v. Baxter Int’l, Inc., 582 F.3d 1288, 1303 (Fed. Cir. 2009); Metso Minerals,
Inc. v. Powerscreen Int’l Distribution Ltd., 833 F. Supp. 2d 333, 345–51 (E.D.N.Y. 2011);
ActiveVideo Networks, Inc. v. Verizon Commc’ns, Inc., No. 2:10CV248, 2011 WL 4899922, at
*1–2 (E.D. Va. Oct. 14, 2011), aff’d, 649 F.3d 1312 (Fed. Cir. 2012); Hynix Semiconductor, Inc.
v. Rambus Inc., 609 F. Supp. 2d 951, 959–61 (N.D. Cal. 2009); Aero Prods. Int’l, Inc. v. Intex
Recreation Corp., No. 02 C 2590, 2005 WL 1498667, at *1–4 (N.D. Ill. June 9, 2005).


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pound) totals Redacted in supplemental damages. See Nero Decl. Ex. 4 (NZ Phytase Sales June-

Oct 2017).4

       What’s more, to the extent Novozymes has continued post-judgment to infringe the

patents-in-suit, these sales are subject to a heightened royalty rate in light of the change of

circumstances, i.e., that Novozymes is now an adjudged infringer that continues to now-willfully

infringe the patents. See Pls.’ Mot. for Permanent Injunctive Relief & Enhanced Royalty at 18–

19. In particular, and as explained in U.S. Water’s Memorandum of Law in Support of Motion

for Permanent Injunctive Relief and an Enhanced Royalty on Novozymes’s Willful Post-

Judgment Sales, any post-judgment sales are ongoing infringement and should be subject to an

enhanced royalty of $10 per pound until such time as Novozymes enjoined, or, if not enjoined,

for the life of the patents-in-suit. Id. at 20; see also Douglas Dynamics, 76 F. Supp. 3d at 821.

To date, these damages are as follows: from October 27, 2017, to October 31, 2017, Novozymes

sold Reda     pounds of infringing product, which (at $10 per pound) totals Redacte in
     cted                                                                            d
supplemental damages. See Nero Decl. Ex. 4 (NZ Phytase Sales June-Oct 2017). However,

because Novozymes continues to sell infringing product, and because its supplemental

production of damages information only goes through October 31, 2017, this number should be

increased to include either infringing sales until the date Novozymes is enjoined from

infringement or to account for sales on an ongoing basis for the remainder life of the patents-in-

suit. See Pls.’ Mot. for Permanent Injunctive Relief & Enhanced Royalty at 15–16.

       Thus, in sum, through October 31, 2017, the total supplemental damages owed to U.S.

Water is Redacted



4
 “NZ Phytase Sales June-Oct 2017” is an updated version of PTX 893, which showed infringing
sales from April 9, 2013, through May 31, 2017, NZ Phytase Sales June-Oct 2017 now reflects
sales through October 31, 2017.


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       B.        U.S. Water Is Entitled to Prejudgment Interest on Both the $7,582,966
                 Judgment and Any Supplemental Damages.

       U.S. Water is likewise entitled to prejudgment interest on both the $7,582,966 awarded

by the jury and any supplemental damages ordered by the Court. “[P]rejudgment interest should

ordinarily be awarded where necessary to afford the plaintiff full compensation for the

infringement.” Gen. Motors Corp. v. Devex Corp., 461 U.S. 648, 654 (1983). An award of

prejudgment interest “serves to make the patent owner whole, since his damages consist not only

of the value of the royalty payments but also of the foregone use of the money between the time

of infringement and the date of the judgment.” Id. at 656; see also First Nat’l Bank of Chi. v.

Standard Bank & Tr., 172 F.3d 472, 480 (7th Cir. 1999); Laitram Corp. v. Cambridge Wire

Cloth Co., 785 F.2d 292, 295–96 (Fed. Cir. 1986) (holding that it is an abuse of discretion to

deny prejudgment interest). “Money has a time value, and prejudgment interest is therefore

necessary in the ordinary case to compensate a plaintiff fully for a loss suffered at time t and not

compensated until t + 1, 2, 3 . . . n.” Partington v. Broyhill Furniture Indus., Inc., 999 F.2d 269,

274 (7th Cir. 1993). Prejudgment interest is “presumptively available” for violations of federal

law. Gorenstein Enters., Inc. v. Quality Care U.S.A., Inc., 874 F.2d 431, 436 (7th Cir. 1989). It

also applies to any supplemental damages awarded by the Court. Wis. Alumni Research Found.

v. Apple, Inc., __ F. Supp. 3d __, No. 14-CV-062-WMC, 2017 WL 2438832, at *16 (W.D. Wis.

June 6, 2017).

       Therefore, U.S. Water is entitled to prejudgment interest on (1) the judgment amount of

$7,582,966 from the date of first infringement—April 9, 2013—to the date of judgment—

October 27, 2017, and (2) any additional amount awarded by the Court for supplemental

damages.




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               1.      The Appropriate Prejudgment Interest Rate Is the Prime Rate at the
                       Time the Damages Accrued.

       To ensure that U.S. Water is fully compensated, the appropriate rate to be applied is the

prime rate for the period in question. Wis. Alumni Research Found., 2017 WL 2438832, at *16

(“[This Court] will follow the practice approved by the Federal Circuit and Seventh Circuit,

which is also consistent with its own practice, by awarding prejudgment interest based on the

prime rate.”); see also Uniroyal, Inc. v. Rudkin–Wiley Corp., 939 F.2d 1540, 1545 (Fed. Cir.

1991) (explaining that a district court “is afforded wide latitude in the selection of interest rates”

and “may award interest at or above the prime rate”); First Nat’l Bank of Chi., 172 F.3d at 480

(ordinarily, to “award something other than the prime rate is an abuse of discretion”); Partington,

999 F.2d at 274; Chesemore v. Alliance Holdings, Inc., No. 09-cv-413-WMC, 2014 WL

4415919, at *8 (W.D. Wis. Sept. 5, 2014), aff’d, 829 F.3d 803 (7th Cir. 2016).




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       The prime rates during the period of the date of first infringement to the judgment date

are as follows:5

        2013
        Prime Rate Date Change      4/9/2013    12/31/2013
        Prime Rate %                  3.25%         3.25%
        Weighted average              3.25%         3.25%

        2014
        Prime Rate Date Change      1/1/2014    12/31/2014
        Prime Rate %                  3.25%         3.25%
        Weighted average              3.25%         3.25%

        2015
        Prime Rate Date Change      1/1/2015    12/17/2015   12/31/2015
        Prime Rate %                  3.25%         3.50%        3.50%
        Weighted average              3.12%         0.14%        3.26%

        2016
        Prime Rate Date Change      1/1/2016    12/17/2016   12/31/2016
        Prime Rate %                  3.50%         3.75%        3.75%
        Weighted average              3.34%         0.17%        3.51%

        2017
        Prime Rate Date Change      1/1/2017     3/16/2017    6/15/2017    10/27/2017
        Prime Rate %                  3.75%         4.00%        4.25%         4.25%
        Weighted average              0.93%         1.21%        1.91%         4.05%


               2.    Prejudgment Interest Should Be Compounded Quarterly.

       Moreover, in the case of prejudgment interest, “‘interest on interest’ must be

permissible.” Cement Div., Nat’l Gypsum Co. v. City of Milwaukee, 144 F.3d 1111, 1116 (7th

Cir. 1998). That is, “[i]t has been recognized that an award of compound rather than simple


5
 See Nero Decl. Ex. 2 (H.15 Selected Interest Rates, Board of Governors of the Federal Reserve
System,
https://www.federalreserve.gov/datadownload/Chart.aspx?rel=H15&series=02338be6957591cdb
a0a59c6f09b8389&lastobs=&from=04/09/2013&to=10/27/2017&filetype=csv&label=include&l
ayout=seriescolumn&pp=Download (last visited Nov. 16, 2017)).


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interest assures that the patent owner is fully compensated.” Rite-Hite Corp. v. Kelley Co., 56

F.3d 1538, 1555 (Fed. Cir. 1995); see also Am. Nat’l Fire Ins. Co. ex rel. Tabacalera Contreras

Cigar Co. v. Yellow Freight Sys., Inc., 325 F.3d 924, 938 (7th Cir. 2003) (“compound interest

ought to be the norm in federal matters”).

       Specifically, the prejudgment interest should be compounded quarterly.                 See

Studiengesellschaft Kohle, m.b.H. v. Dart Indus., Inc., 862 F.2d 1564, 1579 (Fed. Cir. 1988)

(“award of prejudgment interest at the prime rate compounded quarterly was within [the court’s]

discretion”); Wis. Alumni Research Found., 2017 WL 2438832, at *16 (“Accordingly, the court

will award prejudgment interest at the prime rate, compounded quarterly.”); E2Interactive, Inc.

v. Blackhawk Network, Inc., No. 09-CV-629-SLC, 2012 WL 13000379, at *1 (W.D. Wis. Dec. 6,

2012) (same).6

                 3.   The Appropriate Time Period for Applying Prejudgment Interest Is
                      from the Date of First Infringement Until the Date of Judgment.

       Prejudgment interest should be applied to all damages accrued between the date of first

infringement—April 9, 2013—through the date of judgment—October 27, 2017. Gen. Motors

Corp., 461 U.S. at 656. This includes the damages award of $7,582,966, which accounts for the




6
  Indeed, prejudgment interest may be compounded monthly or even daily. Paice LLC v. Toyota
Motor Corp., 504 F.3d 1293, 1314 (Fed. Cir. 2007) (affirming supplemental damages accruing
“interest at the rate of 10%, compounded monthly”); Medcom Holding Co. v. Baxter Travenol
Labs., Inc., 11 F. App’x 623, 623 (7th Cir. 2001) (affirming district court’s award of
prejudgment interest at “6%, compounded monthly”); Tekmax, Inc. v. Exide Corp., 215 F.3d
1339, *7 n.3 (Fed. Cir. 1999) (unpublished table decision) (finding no abuse of discretion in
awarding “prejudgment interest at a rate of 9 percent compounded monthly from the date of
infringement”) (unpublished table decision) ; Uniroyal, Inc., 939 F.2d at 1547 (“we hold that [the
district court] did not err in awarding prejudgment interest at the prime rate compounded daily”);
E.E.O.C. v. CEC Entm’t, Inc., No. 98-C-698-X, 2000 WL 1339288, at *22 (W.D. Wis. Mar. 14,
2000) (“In federal cases, the court is to use the prime rate, compounded monthly, to calculate
prejudgment interest.”). However, for ease of calculation given the many years this case has
spanned, U.S. Water requests only that the prejudgment interest be compounded quarterly.


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time period of April 9, 2013, through May 31, 2017, and Redacted in supplemented damages, as

described above for sales post-May through October 27, 2017.

               4.      Calculation of Prejudgment Interest.

       An appropriate interest calculation applies the interest rates at each time period to the

portion of Novozymes’s infringing sales period during that period.7 Apportionment of the

awarded damages, along with supplemental damages, based on Novozymes’s sales of the

infringing product is as follows:

                                    Pounds sold           Apportioned Damages
                         2013               67,620                      $342,157
                         2014              404,377                    $2,046,147
                         2015              454,633                    $2,300,443
                         2016              411,623                    $2,082,812
               2017 thru May               160,357                     $811,406
               6/1-10/27/2017               Redacte                       Redacted
                                            d
                                           Redacted                     Redacted
                         Total




7
  To be sure, this calculation is conservative. Indeed, this Court has allowed a prejudgment
interest calculation by applying the interest rate to the entire judgment amount beginning on the
date of the hypothetical negotiation—in this case, April 9, 2013. See, e.g., Ameritox, Ltd. v.
Millennium Health, LLC, No. 13-CV-832-WMC, 2016 WL 9460661, at *2 (W.D. Wis. July 18,
2016) (awarding prejudgment interest based on plaintiff’s calculation of “the total amount of
damages, $8,642,760, and the number of years of infringement, 3.9 years” and rejecting
defendant’s argument that “this approach rests on the faulty assumption that all of the infringing
sales occurred on the first day of infringement rather than overtime as was actually the case”).


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       Using mid-year convention8 and the weighted average prime rates for each sales period,

compounded quarterly, the prejudgment interest amounts are as follows:

                      Apportioned Damages         Interest Factor     Prejudgment Interest
              2013                $342,157                  0.1562                 $53,455
              2014              $2,046,147                  0.1239                $253,600
              2015              $2,300,443                  0.0881                $202,646
              2016              $2,082,812                   0.052                $108,369
    2017 thru May                 $811,406                  0.0168                 $13,599
    6/1-10/27/2017                  Redacted                0.0084                     Redact
                                  Redacted                                              d
                                                                                     Redacted
              Total


Therefore, the total prejudgment interest from the judgment amount and supplemental damages

that U.S. Water is entitled to from April 9, 2013, to October 27, 2017, equals Redacted .

       C.      U.S. Water Is Entitled to Post-Judgment Interest on the Judgment Amount of
               $7,582,966 and Post-Judgment Infringing Sales Until the Date Novozymes
               Pays the Judgment in Full.

       Under 28 U.S.C. § 1961, U.S. Water is also entitled to post-judgment interest on (1) the

judgment amount of $7,582,966 from the date of judgment—October 27, 2017—until the date

that Novozymes pays the entire amount to U.S. Water,9 and (2) any amount awarded by the

Court for supplemental damages from the period after the judgment date of October 27, 2017,

until Novozymes pays this amount in full. Pursuant to § 1961, post-judgment interest “shall be

calculated from the date of the entry of the judgment, at a rate equal to the weekly average 1-year

constant maturity Treasury yield, as published by the Board of Governors of the Federal Reserve



8
 Assuming the cash flow takes place at the beginning of the year or at the end of the year would
unfairly increase or decrease accrued interest. Therefore, mid-year (or mid-point) convention
assumes the cash flow takes place mid-year (or mid-point), approximating a true cash flow.
9
  Novozymes has indicated it may move for a stay of execution of the judgment pending
resolution of post-trial motions or appeal, and, if successful, the interest on the judgment amount
would continue to accrue during the entire appeal period until the judgment is paid.


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System, for the calendar week preceding the date of the judgment . . . and shall be compounded

annually.” 28 U.S.C. § 1961(a)–(b).

       The weekly average 1-year constant maturity Treasury yield for the calendar week ending

October 27, 2017, is 1.43%.10 Therefore, the post-judgment interest rate to be applied in this

case is 1.43%, compounded annually.

       The post-judgment interest amount is calculated by taking the judgment amount of

$7,582,966 multiplied by the interest rate of 1.43% and divided by 365 days, which equals

$279.09 per day. This daily interest rate applies from the date of judgment, October 27, 2017,

until Novozymes pays U.S. Water the full judgment amount.

       In addition to the post-judgment interest on the judgment amount, U.S. Water is entitled

to post-judgment interest on any supplemental damages awarded post-October 27, 2017, using

the same method above, which should be calculated once those supplemental damages are

awarded by the Court.

                                       CONCLUSION

       For the reasons set forth above, U.S. Water respectfully requests that the Court award

supplemental damages in the amount of Redacted through October 31, 2017; award prejudgment

interest in the amount of Redacted ; and an award supplemental damages for infringing sales

post-October 31, 2017, and post-judgment interest, in an amount yet to be determined.




10
   See Nero Decl. Ex. 3 (H.15 Selected Interest Rates, Board of Governors of the Federal Reserve
System,
https://www.federalreserve.gov/datadownload/Chart.aspx?rel=H15&series=baf5b6bc360d96888
021f4c7b4b061f5&lastobs=&from=10/01/2017&to=10/31/2017&filetype=csv&label=include&l
ayout=seriescolumn&pp=Download (last visited Nov. 16, 2017)).


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DATED: November 21, 2017            s/ Autumn N. Nero
                                    John S. Skilton
                                    JSkilton@perkinscoie.com
                                    Michelle M. Umberger
                                    MUmberger@perkinscoie.com
                                    Christopher G. Hanewicz
                                    CHanewicz@perkinscoie.com
                                    Autumn N. Nero
                                    ANero@perkinscoie.com
                                    Brandon M. Lewis
                                    BLewis@perkinscoie.com
                                    Truscenialyn Brooks
                                    TBrooks@perkinscoie.com
                                    Danielle S. Grant-Keane
                                    DGrantKeane@perkinscoie.com
                                    Perkins Coie LLP
                                    One East Main Street, Suite 201
                                    Madison, WI 53703-5118
                                    Telephone: 608.663.7460
                                    Facsimile: 608.663.7499

                                    Colin G. Sandercock
                                    CSandercock@perkinscoie.com
                                    Perkins Coie LLP
                                    700 Thirteenth Street N.W.
                                    Washington, DC 20005
                                    Telephone: 202.654.6200
                                    Facsimile: 202.654.6211

                                    Attorneys for Plaintiffs
                                    U.S. Water Services, Inc. and Roy Johnson




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